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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,            Case No. 1:20-cv-03010-APM

v.                                                    HON. AMIT P. MEHTA

GOOGLE LLC,

                               Defendant.


STATE OF COLORADO, et al.,

                               Plaintiffs,            Case No. 1:20-cv-03715-APM

v.                                                    HON. AMIT P. MEHTA

GOOGLE LLC,

                               Defendant.




           PLAINTIFFS’ NOTICE OF ERRATA FOR POST-TRIAL BRIEFING

       Plaintiffs respectfully submit the following errata to their Proposed Findings of Fact

(ECF 1349), Post-Trial Brief (ECF 1348), Responsive Proposed Findings of Fact (ECF 1364),

and Responsive Post-Trial Brief (ECF 1365). These errata are intended to correct inadvertent

citation errors identified in the course of creating for the Court a hyperlinked version of

Plaintiffs’ post-hearing submissions. The portions of the citation which were corrected are

indicated in bold underline.




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                     Plaintiffs’ Remedies Post-Trial Brief, ECF No. 1348


Page          Errata
14            Pls. Liability Post-Trial Brief, ECF No. 896, at 2–9
21            . . . the Chrome divestiture will make one of the most important search access
              points contestable, see infra Argument § I.B.1.
25–26 n.7     Brief of Anthropic PBC, Engine Advocacy, and Technet as Amici Curiae, ECF No.
              1325, Disclosure Statement (May 12, 2025)
26 n.8        For more discussion of choice screens, see infra Argument § I.A.4.
41            See infra Argument § I.C.4.
44 n.11       These same opt-out remedies are identified in the amicus brief submitted by the
              News Media Alliance (ECF No. 1327 at § II.F).
45            Pls. RPFJ § VI.C.1–3
48 n.13       Brief of the Federal Trade Commission as Amicus Curiae in Support of Plaintiffs,
              ECF No. 1328, at 2.
49            PFOF §§ VII.A, VII.C
64            Mem. Op. at 259 (citing FOF ¶¶ 243–67; Pls. Liab. PFOF ¶¶ 629–37, 652–76)


                Plaintiffs’ Remedies Proposed Findings of Fact, ECF No. 1349


Page: Para.   Errata
65: 288       JX0071 at -392
74: 318       PXR0535 at -067–68, -069–70 (§ § 2.2, 4.1)
90: 383       Des. Rem. Tr. 195:8–197:14 (providing foundation for PXR0273), 209:3–12,
              209:20–210:6 (Pancholi (Google) Dep.)
92: 393       PXR0155 at -293
93: 394       PXR0155 at -293
161: 666      Rem. Tr. 1217:22–1219:3 (Evans (Pls. Expert)) (referencing RDXD-08 at .003)
214: 891      Liab. Tr. 1206:10–15 (Dischler (Google))


                     Plaintiffs’ Responsive Post-Trial Brief, ECF No. 1365


Page          Errata
18            see supra § II.D
22            See supra § II.B
23            see also supra note 8




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               Plaintiffs’ Responsive Proposed Findings of Fact, ECF No. 1364


Page: Para.   Errata
1: 1001       Pls. Resp. Br. § II.D
4: 1014       Mem. Op. at 34–35; id. Conclusions of Law § V.A.2–3.
57: 212       PXR0598 at -727
69: 1261      PXR0234 at -137




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Dated: June 6, 2025                      Respectfully submitted,

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